             Case 5:17-cv-01664-AKK Document 42 Filed 04/30/19 Page 1 of 1             FILED
                                                                              2019 Apr-30 AM 09:45
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHEASTERN DIVISION

ALEJANDRO TOMAS,                           )
                                           )
Plaintiff,                                 )
                                           )
             vs.                           )          Civil Action Number
                                           )          5:17-cv-01664-AKK
BAYERISCHE MOTOREN                         )
WERKE AG, ET AL.                           )
                                           )
Defendants.                                )

                                       ORDER

       Consistent with the parties’ Stipulation of Dismissal, the court’s order of

March 27, 2019, doc. 41, is REVISED to reflect that this action is now

DISMISSED WITH PREJUDICE. The parties bear their own costs.


       DONE the 30th day of April, 2019.


                                        _________________________________
                                                 ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE
